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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                  Case No.: 1:21-cr-00609-APM-1

       v.

JEREMY BROWN.
______________________________/

        MOTION TO REMOVE JANUARY 22ND, 2024 FROM THE TRIAL DOCKET
                             (UNOPPOSED)

       COMES NOW, Jeremy Brown, via undersigned counsel, and files this Motion to Remove

January 22nd, 2024 from the Trial Docket (Unopposed) requesting the trial date be removed from the

January 22nd, 2024 docket and as grounds states as follows:

   1. Counsel filed her Notice of Appearance on May 17th, 2023.

   2. Subsequently, discovery was provided to defense counsel by previous counsel, however, neither

       present or previous counsel were able to view discovery from the portable hard-drive.

   3. Defense counsel met with the Government on two separate occasions in DC in order for defense

       to be provided discovery via hard-drive.

   4. It was not until shortly before the last status hearing held on September 14th, 2023 that defense

       counsel was able to conduct a preliminary initial overview of provided discovery on a

       functioning hard-drive. Other discovery has not yet been provided to defense.

   5. On September 14th, 2023, this Court scheduled jury trial for January 22nd, 2024 (aware of the

       discovery issues, neither defense or Government requested trial be set), nonetheless the Court

       acknowledged that the trial date set for January 22nd, 2024 might be susceptible to change due to

       the problems with discovery and a videoconference status hearing is presently scheduled for

       November 27th, 2023 at 9:00a.m..

   6. Pursuant to this Court's Pre-trial Order (ECF #39) all motions pursuant to Federal Rule of

       Criminal Procedure 12(b)(3)(A)-(D) are due by November 13th, 2023.
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   7. It is impossible for defense to accomplish filings of Rule 12 motions by November 13th, 2023.

   8. On October 23rd, 2023 Jeremy Brown's Appellant Brief was filed in the United States Court of

       Appeals, Eleventh Circuit (23-11146). Said appeal arises out of the Middle District case (8:21-

       cr-348-SCB-SPF-1).

   9. The issues on appeal at the 11th Circuit Court of Appeals include potentially similar issues in

       this matter, as one example, suppression of the search warrant under Rule 12.

   10. Discovery in this matter is voluminous and defense counsel is now required to review all

       motions, and appeal briefs arising from the Middle District case.

   11. Counsel has made her best efforts to visit Jeremy Brown in Citrus to review discovery,

       however, has only reviewed a fraction of the discovery provided to date.

   12. It is logistically necessary that the January 22nd, 2024 trial date be removed from the trial

       calendar and that Jeremy Brown remain in Citrus (per the Court at the September 14th, 2023

       status hearing, Mr. Brown would remain in Citrus in order to visit and review discovery with his

       attorney and not be moved from Citrus to DC until a few weeks before trial).

   13. Counsel also withdrew from a different case that had her in DC in January 2024.

   14. In light of the present circumstances, the January 22nd, 2024 trial date should be removed from

       the trial docket with all Pre-trial Order deadlines vacated (ECF #39).

   15. Defense and Government are in agreement with removing the matter from the January 22nd trial

       docket, vacating the Pre-trial Order deadlines, and keeping the November 27th, 2023 9:00a.m.

       Status hearing to discuss when a new trial date should be set with Jeremy Brown remaining in

       Citrus County, Florida.

   16. The Government is unopposed to this Motion.

      WHEREFORE, Defense respectfully requests this Honorable Court review this unopposed

Motion to Remove January 22nd, 2024 from the Trial Docket with Jeremy Brown remaining in Citrus
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County, and enter its Order accordingly.


                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been furnished
via Electronic Filing to Louis Manzo AUSA and Kathryn Racowsky, AUSA, Office of the U.S.
Attorney, and all other parties listed on this 2nd day of November, 2023.




                                                /S/ Maria T. Rodriguez
                                                ______________________________
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